









Dismissed and Memorandum Opinion filed January 8, 2004









Dismissed and Memorandum Opinion filed January 8,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01047-CR

____________

&nbsp;

STUART CURTIS LEVIN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
176th District Court

Harris County, Texas

Trial Court Cause No. 907,834 

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to aggravated robbery with a
deadly weapon.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, on September 2, 2003, the
trial court sentenced appellant to confinement for ten years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed January 8, 2004.

Panel consists of Justices
Edelman, Frost, and Guzman.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





